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 1                                         HON. FRANKLIN D. BURGESS
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11                             UNITED STATES DISTRICT COURT
12                    FOR THE WESTERN DISTRICT OF WASHINGTON
13                                         AT TACOMA
14
     UNITED STATES OF AMERICA,             )
15                                         )         No.     CR03-0343FDB
                      Plaintiff,           )
16                                         )         ORDER
                                           )
17   ERIK DERI,                            )
                                           )
18                    Defendant.           )
19
          The Court has considered the defendant’s motion and accepts the
20
     defendant’s    written      waiver.       The    defendant       may   appear   at   the
21
     restitution hearing through his attorney.
22
          IT IS HEREBY ORDERED, that Defendant Erik Deri’s motion to waive
23
     his presence at restitution hearing and further proceedings is
24
     GRANTED.
25
26        Dated this 14th day of July 2005.
27                                                     /s/ Franklin D Burgess
                                                     FRANKLIN D BURGESS
28                                                   UNITED STATES DISTRICT JUDGE
